      Case 3:15-cv-00141-MHT-PWG Document 6 Filed 06/12/15 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION
                                          :
Moneka Bryant,                            :
                   Plaintiff,             :
        v.                                :
                                          : Civil Action No.: ____________
Revenue Recovery Corporation; and DOES 1- :
10, inclusive,                            :
                                          :
                   Defendants.            :
                                          :
                                          :

          NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                DISMISSAL OF ACTION WITHOUT PREJUDICE
                        PURSUANT TO RULE 41(a)

       Moneka Bryant (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: June 12, 2015

Respectfully submitted,
                                             By: /s/ Curtis R. Hussey
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                                             Moneka Bryant
      Case 3:15-cv-00141-MHT-PWG Document 6 Filed 06/12/15 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2015, a true and correct copy of the foregoing Notice of
Withdrawal of Complaint and Voluntary Dismissal of Action was served electronically by the
U.S. District Court for the Middle District of Alabama Electronic Document Filing System
(ECF) and that the document is available on the ECF system.

                                             By_/s/ Curtis R. Hussey___
                                                 Curtis R. Hussey
